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1    LAW OFFICES OF JOHNNY L. GRIFFIN III
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5    Attorney for Defendant
     Gurminder Singh
6

7                               IN THE UNITED STATES DISTRICT COURT
8                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,                               )   Case No.: 2:06-cr-00238-MCE
                                                             )
11                    Plaintiff,                             )   STIPULATION AND ORDER TO
                                                             )   CONTINUE STATUS CONFERENCE
12           vs.                                             )
                                                             )   DATE: May 22, 2008
13   JASWANT KAUR, SUCHA SINGH,                              )   TIME: 9:00 a.m.
     ARJINDER SINGH and GURMINDER                            )
14                                                           )
     SINGH,                                                      Hon. Morrison C. England, Jr.
                                                             )
15                                                           )
16
                    Defendants.
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             Defendants, by and through their undersigned counsel, and the United States of
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     America, through Assistant United States Attorney Mary L. Grad, hereby agree and stipulate
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     to continue the status conference in the above captioned case from May 22, 2008 to August
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     7, 2008 at 9:00 a.m.1 to allow counsel for Defendants additional time to prepare and discuss
22
     resolution with counsel for the Government and advise Defendants regarding the
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24   Government’s proposal to resolve this case.

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     1
      The parties have been advised by this Court’s Clerk that August 7, 2008 at 9:00 a.m. is an available date and time
     for a status conference on this matter.
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1                For these reasons, the parties stipulate and request that the Court exclude time
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     within which the trial must commence under the Speedy Trial Act from May 22, 2008
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     through August 7, 2008, for the defense preparation under 18 U.S. C. § 3161(h)(8)(B)(iv)
4
     (Local Code T4).
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                Dated: May 21, 2008,                          Respectfully submitted,
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                                                              /s/ Mary L. Grad2
7                                                             MARY L. GRAD
                                                              Assistant United States Attorney
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9
                Dated: May 21, 2008                          /s/ Johnny L. Griffin, III
10                                                          JOHNNY L. GRIFFIN, III
                                                            Attorney for Defendant
11                                                          Gurminder Singh
12
                Dated: May 21, 2008                           /s/ Mark J. Reichel3__
13                                                            MARK J. REICHEL
                                                              Attorney for Defendant
14                                                            Jaswant Kaur

15              Dated: May 21, 2008                          /s/ John P. Brennan___
                                                            JOHN P. BRENNAN
16                                                          Attorney for Defendant
                                                            Sucha Singh
17
                Dated: May 21, 2008                         /s/ Jay Griener_____
18
                                                           JAY GRIENER
19
                                                           Attorney for Defendant
                                                           Arjinder Singh
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     2
         Mary Grad telephonically authorized attorney Johnny L. Griffin, III to sign this Stipulation on her behalf.
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     3
       Attorneys Mark Reichel, John P. Brennan and Jay Griener telephonically authorized attorney Johnny L. Griffin, III
     to sign this Stipulation on their behalf.
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1                                                    ORDER
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             Based on the stipulation of the parties and good cause apparent therein, the Court
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     hereby finds that the failure to grant a continuance in this case would deny Defendants
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     counsel reasonable time necessary for effective preparation, taking into account the exercise
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     of due diligence. The Court specifically finds that the ends of justice are served by the
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     granting of such continuance and outweigh the interests of the public and the Defendants in
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     a speedy trial.
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             Based on these findings and pursuant to the stipulation of the parties, the Court
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     hereby adopts the stipulation of the parties in its entirety as its order.
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             IT IS SO ORDERED.
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     DATED: May 27, 2008
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                                                 __________________________________
14                                               MORRISON C. ENGLAND, JR
                                                 UNITED STATES DISTRICT JUDGE
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